                  Case 3:17-cv-02923-N Document 59 Filed 10/26/18                                                                Page 1 of 1 PageID 544
AO 133       (Rev. 12/09) Bill of Costs - TXND


                                                UNITED STATES DISTRICT COURT
                                                                                            for the
                                                                       Northern District
                                                                    __________  District of
                                                                                         of __________
                                                                                            Texas

                                 COLE PECK                                                      )
                                                                                                )
                                          v.                                                    )         Case No.: 3:17-CV-2923-N
       ASSET MANAGEMENT ASSOCIATES, LLC                                                         )
                                                                                                )

                                                                                 BILL OF COSTS
Judgment having been entered in the above entitled action on                                        10/26/2018                   against         Asset Management Asso.                 ,
                                                                                                           Date
the Clerk is requested to tax the following as costs:

Fees of the Clerk . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          $               400.00

Fees for service of summons and subpoena . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           477.50

Fees for printed or electronically recorded transcripts necessarily obtained for use in the case . . . . . .                                                               1,033.50

Fees and disbursements for printing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for witnesses (itemize on page two) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   0.00

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

Docket fees under 28 U.S.C. 1923 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Costs as shown on Mandate of Court of Appeals . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of court-appointed experts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 . . . . .


                                                                                                                                              TOTAL            $           1,911.00

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

                                                                                       Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:
        ✔
        ’           Electronic service                                    ’        First class mail, postage prepaid
         ’          Other:
             s/ Attorney:              Joshua L. Hedrick
                          Name of Attorney: Joshua L. Hedrick
For:                                                              Cole Peck                                                                         Date:          10/26/2018
                                                             Name of Claiming Party

                                                                                  Taxation of Costs
Costs are taxed in the amount of                                                                                                                        and included in the judgment.

                                                                                  By:
                           Clerk of Court                                                                       Deputy Clerk                                            Date
